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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                                CASE NO. 1:02-cr-00043 MMP

FREDDIE LEE MURPHY,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 402, Motion for Clarification, filed by

Defendant Freddie Lee Murphy. The Government was directed to respond to Defendant’s

motion, and has done so. Doc. 404. In its Response, the Government states it has determined

that there is an insufficient factual basis to support the filing of a Rule 35 motion on Defendant

Murphy’s behalf. Because this decision rests within the discretion of the Government, and

because Defendant has not alleged or demonstrated any unconstitutional motive, Defendant’s

motion is denied.


       DONE AND ORDERED this             20th day of September, 2007


                               s/Maurice M. Paul
                          Maurice M. Paul, Senior District Judge
